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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT NEW YORK. PS) 13033
CHARON COINS, LLC,
Plaintiff,
¥. Civil Action No, 7:21-cv-2777
SONEA GRIFFITHS,

Defendant.

 

 

A ORDER

This matter having come before the Court on Plaintiff Charon Coins, LLC’s,
voluntary dismissal of the within action and Defendant Sonea Griffiths’ stipulation
thereto, it is hereby

ORDERED, that the within action is dismissed without prejudice, each patty to bear
its own attorney’s fees and costs.

DONE and ORDERED this _28_ day of January, 2022.

The Clerk ts directed to terminate
this action. Viet /

HONORABLE VINCENT L. BRICCETTI
UNITED STATES DISTRICT JUDGE

 
